                     Case 1:17-cr-00201-ABJ Document 233 Filed 03/14/18 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


                  Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿                     )
                             Plaintiff                         )
                                v.                             )      Case No.     ïéóîðïóðï øßÞÖ÷
                     Ð¿«´ Öò Ó¿²¿º±®¬ô Ö®ò                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Ð¿«´ Öò Ó¿²¿º±®¬ô Ö®ò                                                                                        .


Date:          ðíñïìñîðïè                                                              -ñ Î·½¸¿®¼ Éò É»-¬´·²¹
                                                                                          Attorney’s signature


                                                                            Î·½¸¿®¼ Éò É»-¬´·²¹ øÜÝ Þ¿® Ò±ò ççðìçê÷
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